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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                        )
                                                  )
                         Plaintiff,               )
                                                  )
         v.                                       )   Criminal Action No. 23-61 (MN)
                                                  )
 ROBERT HUNTER BIDEN,                             )
                                                  )
                         Defendant.               )

                                      MEMORANDUM ORDER

       At Wilmington this 12th day of April 2024:

       On June 20, 2023, David C. Weiss, United States Attorney for the District of Delaware,

charged Defendant Robert Hunter Biden via Information with unlawful possession of a firearm by

a person prohibited under 18 U.S.C. § 922(g)(3). The parties attempted to reach resolution of the

charge with pretrial diversion but were ultimately unsuccessful. On August 11, 2023, the United

States Attorney General, Merrick Garland, appointed Mr. Weiss as Special Counsel to conduct the

ongoing investigations relating to this criminal matter and another matter relating to tax offenses,

as well as to conduct investigations into other matters that may arise. See OFF. OF THE ATT’Y GEN.,

ORDER NO. 5730-2023, APPOINTMENT OF DAVID C. WEISS AS SPECIAL COUNSEL (2023). As

Special Counsel here, Mr. Weiss is authorized to prosecute any federal crimes arising from his

investigations. (Id.).

       On September 14, 2023, Special Counsel Weiss indicted Defendant on three felony firearm

offenses in this case – the original unlawful possession charge along with two related false-

statement charges. (See generally D.I. 40). Presently before the Court is Defendant’s motion to

dismiss the indictment because the Special Counsel was purportedly unlawfully appointed and

because the prosecution violates the Appropriations Clause. (D.I. 62).
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       The Attorney General appointed Mr. Weiss to serve as Special Counsel pursuant to

28 U.S.C. §§ 509, 510, 515 and 533. See ORDER NO. 5730-2023 at 1. Defendant does not argue

that Mr. Weiss’s appointment violates this statutory authority.         Instead, he argues that the

appointment was unlawful because it violates the U.S. Department of Justice (“DOJ”) regulations,

which describe the general powers of special counsel. 1 (See D.I. 62 at 2-6). The DOJ regulations

state that “[t]he Special Counsel shall be selected from outside the United States Government.”

28 C.F.R. § 600.3. Mr. Weiss, a sitting United States Attorney at all relevant times, was not

selected from outside the government.         According to Defendant, the regulations preclude

Mr. Weiss from serving as Special Counsel, and the indictment must be dismissed. 2 (See D.I. 62

at 6). That, however, is not an argument available to Defendant.

       The last section of the DOJ regulations, entitled “No creation of rights,” provides that “[t]he

regulations in this part are not intended to, do not, and may not be relied upon to create any rights,

substantive or procedural, enforceable at law or equity, by any person or entity, in any matter,

civil, criminal, or administrative.” 28 C.F.R. § 600.10. This is a criminal matter, and Defendant

is a person attempting to rely upon the regulations to create an enforceable substantive (and

procedural) right. By its clear terms, the DOJ regulations prohibit Defendant from doing so. He

is not entitled to dismissal (or any other remedy) in this case even if the DOJ has violated its own



1
       The regulations are in Part 600 of the Code of Federal Regulations, which is titled “General
       Powers of Special Counsel.” See 28 C.F.R. §§ 600.1-600.10.
2
       The appointment order states that the Special Counsel is subject to 28 C.F.R. §§ 600.4-
       600.10. See ORDER NO. 5730-2023 at 2. In so specifying, the appointment order excepts
       § 600.3 from applying to the Special Counsel. The DOJ may waive any or all of Part 600.
       See Special Counsel and Permanent Indefinite Appropriation, GAO B-302582, 2004 WL
       2213560, at *4-5 (Comp. Gen. Sept. 30, 2004) (“Thus, 28 C.F.R Part 600 does not act as a
       substantive limitation on the Attorney General’s (or Acting Attorney General’s) authority
       to delegate authority to a U.S. Attorney to serve as a Special Counsel to investigate high
       ranking government officials and it may be waived.”).


                                                  2
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DOJ regulations. 3 The Court’s conclusion in this regard is bolstered by the fact that at least two

other courts have reached a similar conclusion – i.e., that an individual defendant may not invoke

the DOJ regulations (or purported violations thereof) to obtain dismissal of an indictment.

See, e.g., United States v. Manafort, 321 F. Supp. 3d 640, 660 (E.D. Va. 2018) (“[E]ven assuming

defendant is correct that the Acting Attorney General violated the Special Counsel regulations

when he appointed the Special Counsel here, that fact does not warrant dismissal of the

Superseding Indictment.     The Special Counsel regulations themselves make clear that the

regulations do not ‘create any rights, substantive or procedural,’ and as such, the regulations are

unenforceable ‘at law or equity, by any person or entity, in any matter, civil, criminal, or

administrative.’” (quoting 28 C.F.R. § 600.10)); United States v. Manafort, 312 F. Supp. 3d 60, 75

(D.D.C. 2018) (“Manafort cannot move to dismiss his complaint under the Federal Rules of

Criminal Procedure based upon a claimed violation of the Department of Justice Special Counsel

Regulations because those regulations are not substantive rules that create individual rights; they

are merely statements of internal departmental policy.”).

       Defendant also claims that any prosecutions resulting from the Special Counsel’s

appointment violate the Appropriations Clause of the U.S. Constitution. (See D.I. 62 at 7-9). As

Defendant recognizes, Mr. Weiss’s investigation and prosecution is being funded through “an

appropriation established in a Note to 28 U.S.C. § 591,” one of the lapsed independent counsel




3
       Sitting U.S. Attorneys have been appointed as special counsel in at least two other
       instances. See ATT’Y GEN. ORDER 4878-2020 (2020) (appointing U.S. Attorney John
       Durham as special counsel under §§ 509, 510 and 515); see also Letter from
       James B. Comey, Acting Attorney General, to Patrick J. Fitzgerald, United States Attorney
       (Dec. 30, 2003) (appointing U.S. Attorney Patrick Fitzgerald as special counsel under
       §§ 509, 510 and 515).


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statutes. 4 (D.I. 62 at 7). That appropriation provides “a permanent indefinite appropriation []

established within the Department of Justice to pay all necessary expenses of investigations and

prosecutions by independent counsel appointed pursuant to the provisions of 28 U.S.C. 591 et seq.

or other law.” Pub. L. No. 100-202, 101 Stat. 1329 (Dec. 22, 1987). Defendant argues that this

appropriation cannot fund the Special Counsel here because he is not an “independent counsel”

who falls within the appropriation. (See, e.g., D.I. 62 at 7 (“Special Counsel Weiss is not an

independent counsel and that is by design. This appropriation for ‘independent counsel’ was

created in 1987, when everyone understood that ‘independent’ referred to the circumstances that

then-existed concerning the role of an Independent Counsel.” (emphasis in original)); D.I. 80 at

12 (“Special Counsel Weiss’s claim that the appropriation covers him fails because he is not an

‘independent counsel’ as envisioned in any ‘other law.’”)). The Court disagrees.

       The use of the permanent appropriation to fund special counsel appointed after the

independent counsel statutes lapsed is well established. See generally United States v. Stone,

394 F. Supp. 3d 1, 17-23 (D.D.C. 2019) (setting forth the history of independent and special

counsel appointments and the funding thereof through the permanent appropriation). Indeed, there

have been at least six other special counsel appointed since 1999 who were funded by this

appropriation: John Danforth, Patrick Fitzgerald, Robert Mueller, John Durham, Jack Smith and

Robert Hur. See, e.g., Independent and Special Counsel Expenditures for the Six Months Ended

September 30, 2001, GAO-00-120 at Page 6 (March 2000) (“On September 9, 1999, the Attorney

General appointed John C. Danforth as a Special Counsel to investigate the government conduct

relative to certain events in Waco, Texas. The Department of Justice determined that the




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       The independent counsel statutes are found at 28 U.S.C. §§ 591-599. When Congress
       failed to reauthorize them in 1999, the statutes expired. See 28 U.S.C. § 599.


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appropriation established by Public Law 100-202 to fund expenditures by independent counsels

appointed pursuant to 28 U.S.C. 591-599, also is available to fund the expenditures of the Special

Counsel.”); Independent and Special Counsel Expenditures for the Six Months Ended September

30, 2004, GAO-05-359, 2005 WL 1396286, at 3 & n.3 (March 2005) (DOJ approved using

“appropriation established by Public Law 100-202 to fund expenditures by independent counsels

appointed pursuant to the independent counsel law or other law” to fund Special Counsel

Fitzgerald); SPECIAL COUNSELS’ OFFICE – STATEMENT OF EXPENDITURES MAY 17, 2017 THROUGH

FEBRUARY 25, 2020 Note 1B (2020) (Special Counsel Mueller funded at least in part by “the

permanent, indefinite appropriation for independent counsels (IC Appropriation) (28 U.S.C. § 591

note)”); SPECIAL COUNSELS’ OFFICE – DURHAM STATEMENT OF EXPENDITURES APRIL 1, 2023

THROUGH SEPTEMBER 30, 2023 Page 4 (2023) (Special Counsel Durham funded by same); SPECIAL

COUNSELS’ OFFICE – SMITH STATEMENT OF EXPENDITURES NOVEMBER 18, 2022 THROUGH MARCH

31, 2023 Page 4 (2023) (Special Counsel Smith funded by same); SPECIAL COUNSELS’ OFFICE –

HUR STATEMENT OF EXPENDITURES JANUARY 12, 2023 THROUGH MARCH 31, 2023 Page 4 (2023)

(Special Counsel Hur funded by same).

       Defendant argues that this longstanding practice of using the permanent appropriation to

fund special counsel expenditures has no applicability to the facts of this case. In Defendant’s

view, Special Counsel Weiss is less independent than other special counsel because Mr. Weiss

was not selected from outside the government. (See D.I. 62 at 8 (“By choosing a subordinate from

within DOJ, there is not even a veneer of independence. Mr. Weiss cannot be both ‘independent’

of DOJ and a part of DOJ (as he is still the U.S. Attorney for the District of Delaware).”); see also

D.I. 80 at 13 (“Special Counsel Weiss ignores that the statute still requires that the covered person

be a lower-case ‘independent counsel’ – in a similar sense to the Independent Counsel the




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appropriation was primarily intended to fund – and he is in no sense ‘independent’ from the United

States government that he already serves as U.S. Attorney.”)). Yet the plain language of the

appropriation imposes no such mandate that the special counsel be selected from outside the

government in order to receive funds. See Pub. L. No. 100-202, 101 Stat. 1329 (Dec. 22, 1987).

And, of course, Defendant’s argument also ignores the fact that the permanent appropriation has

been used to fund at least two other special counsel who were sitting U.S. Attorneys at the time of

appointment:    Patrick Fitzgerald, U.S. Attorney for the Northern District of Illinois, and

John Durham, U.S. Attorney for the District of Connecticut. See supra n.3.

       In fact, in auditing the expenditures of Special Counsel Fitzgerald, the Government

Accountability Office (“GAO”) rejected Defendant’s argument, finding that a sitting U.S.

Attorney appointed as special counsel can qualify as “independent counsel” within the meaning of

the appropriation’s “other law” language.       See Special Counsel and Permanent Indefinite

Appropriation, GAO B-302582, 2004 WL 2213560 (Sept. 30, 2004). The GAO concluded that,

notwithstanding the fact that he was continuing to serve as a U.S. Attorney, Mr. Fitzgerald’s

special counsel expenditures could be funded by the permanent appropriation because (1) the

appropriation itself did not condition such funds on the “independent counsel” being selected from

outside the government and because (2) Mr. Fitzgerald was lawfully appointed as an “independent

counsel” pursuant to relevant “other law” (i.e., §§ 509, 510 and 515). Id. at *1-4. In reaching the

latter conclusion, the GAO noted that when constitutional challenges to the independent counsel

statutes (i.e., § 591 et seq.) were ongoing in 1987, the Attorney General began using other statutory

authority (e.g., §§ 509, 510 and 515) to appoint the same people to serve as independent counsel

so as to avoid any interruption in investigations if the independent counsel statutes were found

unconstitutional. See GAO B-302582, 2004 WL 2213560, at *3. Those appointments occurred




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around the time that Congress was considering the bill that ultimately enacted the permanent

indefinite appropriation into law. Id. Therefore, in the GAO’s opinion, independent counsel

appointed under §§ 509, 510 and 515 were the independent counsel appointed pursuant to “other

law” referenced in the appropriation. Because Special Counsel Fitzgerald was appointed under

that statutory authority, he was an “independent counsel” contemplated by the appropriation and

his special counsel expenditure funding therefrom was proper. GAO B-302582, 2004 WL

2213560, at *4. Defendant cites no cases or other authority that have reached a different

conclusion or even cast doubt on the one reached by the GAO. The Court has found none either.

       Although Special Counsel Weiss was appointed under the same statutory authority, 5

Defendant claims that the GAO’s findings are nevertheless inapplicable here because Special

Counsel Fitzgerald was “delegated the full authority of the Attorney General” and was therefore

more independent than Special Counsel Weiss. Defendant points out that the appointment of

Mr. Fitzgerald made clear that Part 600 did not apply to him, whereas the order appointing

Mr. Weiss as Special Counsel expressly provides that he is subject to 28 C.F.R. §§ 600.4-600.10.

See ORDER NO. 5730-2023 at 2. In Defendant’s view, Mr. Weiss being subject to the reporting

and supervision requirements of 28 C.F.R. § 600.7 destroys any claim that he is independent

enough to receive funding from the permanent appropriation for independent counsel. (D.I. 80 at

13-14). Defendant may be correct that Mr. Weiss is subject to certain reporting and supervision

requirements that Special Counsel Fitgerald was not, but Mr. Weiss remains free from the day-to-

day supervision of the DOJ, and his prosecutorial (and other) decisions may only be overturned

when the Attorney General finds the action “so inappropriate or unwarranted under established




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       The Attorney General also cited his authority under § 533 in his appointment of Mr. Weiss.
       See ORDER NO. 5730-2023 at 2.


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[DOJ] practices.” 28 C.F.R. § 600.7(b). Indeed, the Special Counsel’s decisions are to be given

“great weight.” Id. And if the Attorney General rejects the Special Counsel’s decision(s), that

must ultimately be disclosed to Congress. Id. Defendant thus ignores the substantial degree of

independence that Special Counsel Weiss has notwithstanding that he remains subject to the DOJ

regulations. Moreover, neither the GAO nor any court has reached the conclusion that Defendant

advocates here – i.e., that special counsel subject to the special counsel regulations cannot be

“independent” within the meaning of the appropriation. In fact, one court has suggested the

opposite. See Stone, 394 F. Supp. 3d at 21 (“[T]hat the regulation calls for a certain level of

oversight and compliance with the policies and procedures of the Department of Justice does not

mean a special counsel is not ‘independent’ as that term is generally understood and as it was used

in the permanent appropriation.”).

        Because Mr. Weiss was lawfully appointed under §§ 509, 510 and 515 to serve as Special

Counsel to conduct investigations and prosecutions relating to this criminal matter, he is an

“independent counsel” appointed pursuant to “other law” within the meaning of the permanent

appropriation and, as such, the funds of such appropriation may lawfully be used for his

expenditures. See, e.g., Stone, 394 F. Supp. at 20 (“The phrase ‘other law’ sweeps broadly, and

sections 509, 510, and 515 are surely ‘other law’ under which special attorneys – including special

counsel who investigate the President – may be appointed.”). Defendant has failed to convince

the Court that funding of the Special Counsel’s prosecution in this case violates the Appropriations

Clause. 6




6
        Defendant has also failed to show that the appropriate remedy for a violation of the
        Appropriations Clause is dismissal rather than an injunction to allow for a funding
        transition.


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       For the reasons set forth above, IT IS HEREBY ORDERED that Defendant’s motion to

dismiss (D.I. 62) is DENIED.



                                               The Honorable Maryellen Noreika
                                               United States District Judge




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